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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 SIGIFREDO OLIVEROS-ESTUPINAN,

        Petitioner,

 v.                                                      Case No. 8:05-cv-1101-T-30EAJ
                                                           Crim. No. 8:02-cr-228-T-30EAJ
 UNITED STATES OF AMERICA,

       Respondent.
 _____________________________________/

                                          ORDER

        THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside

 or Correct Sentence Pursuant to 28 U.S.C. §2255 (Dkt. #1), the Government’s Motion to

 Dismiss (Dkt. #9), and Petitioner’s Reply (Dkt. #11). After a review of the pleadings and the

 underlying criminal proceedings, the Court concludes that Petitioner’s Motion should be

 dismissed because it is time-barred and is otherwise insufficient to merit relief under §2255.

                                      BACKGROUND

        Petitioner and eight other defendants were convicted in a jury trial of the following

 charges: (1) possessing five kilograms or more of a mixture or substance containing a

 detectable amount of cocaine while aboard a vessel subject to the jurisdiction of the United

 States, in violation of 46 U.S.C. Appx. §1903(a) and 1903(g), 18 U.S.C. §2, and 21 U.S.C.

 §841(b)(1)(A)(ii), and (2) conspiracy to possess cocaine with intent to distribute it while
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 aboard a vessel subject to the jurisdiction of the United States, in violation of 46 U.S.C.

 Appx. §1903(a), 1903(g) and (j), and 21 U.S.C. §841(b)(1)(A)(ii).

        Petitioner and his co-defendants were members of a crew aboard a fishing vessel

 known as the Punta del Este that was interdicted in the Pacific Ocean. At trial, the

 government put on evidence that 4,665 kilograms of cocaine, valued at $100,000,000, were

 found aboard the vessel while the fishing equipment -- rusted hooks, unused fishing line,

 tangled fishing net, cluttered deck, ice in blocks in the fish hold – indicated that the

 defendants were not engaged in fishing activity.

        Four of Petitioner’s fellow crew members and the captain were sentenced on January

 17, 2003, and Petitioner and the other three co-defendants were sentenced on subsequent

 dates. In the sentencings held on January 17, 2003, this Court granted a minor role reduction

 to the four crew members which resulted in sentences of 121 months for each. The captain

 was sentenced to 360 months. At the sentencings of the remaining defendants on the later

 dates, the Government made additional arguments that caused the Court to determine that it

 was inappropriate to give a minor role reduction. As a result, Petitioner and the remaining

 three crew members each received sentences of 292 months imprisonment. This Court then

 amended its sentencing judgment as to the first four crew members sentenced on January 17,

 2003, to give them the same sentence as Petitioner, to wit: 292 months imprisonment.

        Petitioner and the other defendants appealed their convictions and sentences to the

 United States Court of Appeals for the Eleventh Circuit. On March 4, 2004, the Eleventh

 Circuit affirmed the defendants’ convictions but remanded the case as to the four crew

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 members who had originally been sentenced to 121 months with instructions to this Court

 to reinstate that original sentence. Petitioner’s sentence was affirmed in all respects.

 Thereafter, on June 4, 2005, Petitioner filed this Motion to Vacate under §2255 raising the

 following issues:

        Ground One:          Counsel was ineffective for failing to present expert
                             testimony about fishing practices and equipment
                             accepted in Colombia.

        Ground Two:          Counsel was ineffective for failing to adequately present
                             an actual innocence defense.

        Ground Three:        The mandatory guidelines under which the movant was
                             sentenced are unconstitutional.

        Ground Four:         The sentence imposed is disparate from other identically
                             situated co-defendants.

                                STANDARD OF REVIEW

        Title 28 U.S.C. § 2255 provides, in pertinent part, that:

               A prisoner in custody under sentence of a court established by
               Act of Congress claiming the right to be released upon the
               ground that the sentence was imposed in violation of the
               Constitution or laws of the United States, or that the court was
               without jurisdiction to impose such sentence, or that the
               sentence was in excess of the maximum authorized by law, or is
               otherwise subject to collateral attack, may move the court which
               imposed the sentence to vacate, set aside or correct the sentence.


 28 U.S.C. § 2255. On April 24, 1996, the President signed into law the Antiterrorism and

 Effective Death Penalty Act of 1996 (hereinafter the "AEDPA"). This law amended 28

 U.S.C. §2255 by adding the following provisions:


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        A 1-year period of limitation shall apply to a motion under this section. The
        limitation period shall run from the latest of–


        (1)    the date on which the judgment of conviction becomes final;


        (2)    the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant was prevented from making a
               motion by such governmental action;


        (3)    the date on which the right asserted was initially recognized by the
               Supreme Court, if that right has been newly recognized by the Supreme
               Court and made retroactively applicable on collateral review; or


        (4)    the date on which the facts supporting the claim or claims presented
               could have been discovered through the exercise of due diligence.

 28 U.S.C. §2255 ¶ 6.

        In analyzing ineffective assistance of counsel claims, this Court must apply Strickland

 v. Washington, 466 U.S. 668 (1984). To establish a prima facie claim of ineffective

 assistance of counsel, one must show that counsel’s performance was (1) deficient and (2)

 that the deficient performance prejudiced the defense. Strickland at 687. Deficient

 performance is performance which is objectively unreasonable under the prevailing

 professional norms. Prejudice results when there is “a reasonable probability that, but for

 counsel’s unprofessional errors, the result of the proceeding would have been different.”

 Strickland at 694. “The issue is not what is possible or ‘what is prudent or appropriate, but

 only what is constitutionally compelled.’” Chandler v. United States, 218 F.3d 1305, 1313

 (11th Cir. 2000) (en banc) (quoting Berger v. Kemp, 483 U.S. 776 (1987)). Further, vague,

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 conclusory, speculative, or unsupported claims are insufficient to support claims of

 ineffective assistance of counsel. Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991),

 cert. denied, 502 U.S. 1105 (1992).

                                        DISCUSSION

        The Eleventh Circuit entered its opinion in Petitioner’s case on March 4, 2005.

 Petitioner did not file a petition for writ of certiorari with the United States Supreme Court.

 Therefore, his conviction became “final” for §2255 purposes upon the expiration of the 90-

 day period for seeking certiorari. Kaufmann v. United States, 282 F.3d 1336, 1338 (11th Cir.

 2002). That 90-day period expired on June 2, 2004. Therefore, Petitioner had until June 2,

 2005, to file a §2255 motion to challenge his sentence. Since the motion was not filed until

 June 4, 2005, it is time-barred unless Petitioner successfully shows that he is entitled to

 equitable tolling.

        Equitable tolling is appropriate only if a prisoner’s §2255 petition is untimely because

 of extraordinary circumstances that are both beyond his control and unavoidable even with

 diligence. Drew v. Dep’t of Corrections, 297 F.3d 1278, 1286 (11th Cir. 2002), cert. denied,

 537 U.S. 1237 (2003). Here, Petitioner has shown no circumstances that were beyond his

 control or unavoidable with the application of due diligence.

        Even had the motion been filed timely, it would still fail for other reasons. Those

 reasons will be explained as to each ground raised in the motion.




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 Ground One:           Counsel was ineffective for failing to present expert testimony about
                       fishing practices and equipment accepted in Colombia.

        In support of ground one, Petitioner argues that his attorney was ineffective for failing

 to present an expert witness on the fishing standards used in Colombia. This is a conclusory

 statement that is insufficient to support a claim of ineffective assistance of counsel.

 Petitioner fails to identify such an expert, establish the testimony the expert would have given

 had he testified, and how testimony would have altered the outcome of the case.

        As the Eleventh Circuit pointed out in its opinion in the direct appeal, the

 Government’s evidence at trial was sufficient to establish that it was not a legitimate fishing

 trip, particularly given the tremendous amount of cocaine on board. A defendant’s presence

 becomes more significant when the value of the contraband is high because “it is highly

 improbable that drug smugglers would allow an outsider on board a vessel filled with

 millions of dollars worth of contraband.” United States v. Cruz-Valdez, 773 F.2d 1541, 1546

 (11th Cir. 1985). For these reasons, ground one will be denied.

 Ground Two:           Counsel was ineffective for failing to adequately present an actual
                       innocence defense.

        In support of ground two, Petitioner argues:

        The equipment was clearly accepted in Colombia. It is also clear that the
        government relied on the condition of the equipment to obtain the conviction.
        Moreover, counsel failed to adequately present the fact that the Coast Guard
        took three (3) days to discover the drugs. However, counsel failed to
        adequately question how the defendant could know the drugs were there.




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        Once again, Petitioner merely makes conclusory statements in support of his claim.

 It is insufficient for him to merely make the bald statement that the equipment, presumably

 including the rusted hooks and unused fishing line, was acceptable fishing equipment in

 Colombia. He points to no evidence to support that statement, identifies no witness who had

 seen the equipment and would testify to such, or explain how such evidence would have

 changed the jury’s finding.

        Further, Petitioner is factually incorrect in his argument. In closing arguments,

 defense counsel for the eight defendants did argue that the crew could not be expected to

 know about the hidden drugs if it took the Coast Guard three days to find the hidden

 compartment. It is not ineffective assistance of counsel just because the argument was not

 persuasive to the jury. For these reasons, ground two will be denied.

 Ground Three:        The mandatory guidelines under which the movant was sentenced are
                      unconstitutional.

        In support of ground three, Petitioner makes a Booker argument that the guidelines

 were unconstitutional. In United States v. Booker, 543 U.S. 220 (2005), the United States

 Supreme Court held that the federal sentencing guidelines are subject to the jury trial

 requirements of the Sixth Amendment. But Booker is not retroactive to cases (like

 Petitioner’s) that were final prior to the Booker decision. See Varella v. United States, 400

 F.3d 864 (11th Cir. 2005). Petitioner’s case was final in 2004 and Booker was decided in

 2005. Therefore, ground three will be denied.



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 Ground Four:         The sentence imposed is disparate from other identically situated co-
                      defendants.

        Petitioner is correct that four of his co-defendants received sentences of 121 months

 whereas he received a sentence of 292 months. This Court determined that 292 months was

 the correct sentence and that all of the defendants should have received at least 292 months.

 This Court amended the sentences of the four defendants who received the lesser sentences,

 but that amendment was reversed by the Eleventh Circuit, not because 292 months was not

 an appropriate sentence, but because it held that this Court could not “change its mind” after

 announcing on the record a sentence of 121 months. That four co-defendants ultimately

 received sentences this Court deemed too low is not a sufficient reason to vacate the sentence

 for the remaining co-defendants who received sentences this Court deemed appropriate. For

 this reason, ground four will also be denied.

                                         CONCLUSION

        Because Petitioner’s Motion is both time-barred and otherwise without merit, it will

 be denied.

        It is therefore ORDERED AND ADJUDGED that:

        1.     Petitioner’s Motion to Vacate, Set Aside or Correct Sentence Pursuant to 28

 U.S.C. §2255 (Dkt. #1) is DISMISSED.

        2.     The Clerk is directed to dismiss this case with prejudice, terminate all pending

 motions as moot, and close this file.


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           DONE and ORDERED in Tampa, Florida on July 27, 2006.




 Copies furnished to:
 Counsel/Parties of Record

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